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B2500A (Form 2500A) (12/15)

United States Bankruptcy Court
southern District Of Texas

In re IGNITE RESTAURANT GROUP, INC., et al., Case No. 17-33550 (DRI)

Debtor. (Jointly Administered)
DRIVETRAIN, LLC, as Trustee of the Ignite cae 1
Restaurant Group GUC Trust Chapter 1
Plaintiff, )
Vv.
)
)
) Adv, Proc. No.
FACILITY RESPONSE GROUP INCORPORATED, _ )
)
Defendant. )

 

SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the bankruptcy court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall file a
motion or answer to the complaint within 35 days.

Address of the clerk:
USBC, Southern District of Texas, Houston Division
Attn: David J. Bradley, Clerk of the Court
P.O. Box 61010, Houston, TX 77208; telephone: 713/250-5500

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's
attorney.

Name and Address of Plaintiff's Attorney:

PACHULSKI STANG ZIEFAHL & JONES LLP, Atin: Jason S. Pomerantz,
10100 Santa Monica Boulevard, 13" Floor, Los Angeles, CA 90067
~ and -
COLE SCHOTZ PC, Attn: Michael D. Warner; Benjamin L. Wallen
301 Commerce Street, Suite 1700, Fort Worth, TX 76102

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE
DEEMED TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE
BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST
YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

 

David J. Bradley, Clerk of Court

   

ys :

 

8/ Melissa Morgan

 

Date: May 30, 2019 \ dren

 

Signature of Clerk or Deputy Clerk
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B2500A (Form 2500A) (12/15)

 

CERTIFICATE OF SERVICE
I, _Rolanda Mori (name), certify that service of this summons and a copy of
the complaint was made June 3, 2019 (date) by:

 

vi Mail service: Regular, first class United States mail and Certified Return Receipt
Requested, postage fully pre-paid, addressed

to:
See attached service list.
C Personal Service: By leaving the process with the defendant or with an officer or agent
of defendant at:
CO Residence Service: By leaving the process with the following adult at:

C] Certified Mail Service on an Insured Depository Institution: By sending the process by
certified mail addressed to the following officer of the defendant at:

CO Publication: The defendant was served as follows: [Describe briefly]

C] State Law: The defendant was served pursuant to the laws of the State of , as
follows: [Describe briefly]

If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

Under penalty of perjury, I declare that the foregoing is true and correct.

 

 

 

 

Date 6/5/2019 Signature
Print Name: Rolanda Mori _ \
Business Address: 10100 Santa Monica Bivd.,.13-Fr.

 

Los Angeles, CA 90067

 

 

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SERVICE LIST

Facility Response Group Incorporated

c/o The Law Office of Raymond S. Vinton
Attn: Raymond S. Vinton, Esq. & R/A
6541 Kenwood Avenue

Dallas, TX 75214-3164

Facility Response Group Incorporated
Attn: Thayer Vinton, President

100 Crescent Court, Suite 700

Dallas, TX 75201-2112

Facility Response Group Incorporated

Attn: Trisha R. Stanford, Accts. Receivable
2100 Greenwod Dr., Suite 200

Southlake, TX 76092

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